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                               UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA


 CITIZENS FOR PENNSYLVANIA'S                        Case No. 19-cv-02004-VC
 FUTURE, et al.,
                Plaintiffs,                         JUDGMENT
         v.

 ANDREW R. WHEELER,
                Defendant.


       Judgment is entered in accordance with the order dismissing a claim for lack of subject-

matter jurisdiction and granting the plaintiffs’ motion for summary judgment as to the remaining

three claims. See Dkt. No. 43. The Clerk of Court is directed to close the case.

       IT IS SO ORDERED.

Dated: June 26, 2020
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge
